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    UNITED STATES DISTRICT COURT                                  EASTERN DISTRICT OF TEXAS


   UNITED STATES OF AMERICA                           §
                                                      §
   versus                                             §            CASE NO. 4:11-CR-127 (10)
                                                      §
   TERRANCE BOOKER                                    §

                                    MEMORANDUM AND ORDER

            Pending before the court is Defendant Terrance Booker’s (“Booker”) pro se Motion for

   Compassionate Release (#993), wherein he requests compassionate release due to medical

   circumstances. Also before the court are Booker’s pro se Motions for Extension of Time and

   Appointment of Counsel (#s 1003, 1004), wherein he seeks an extension of time to file a reply to

   the Government’s response to his compassionate release motion and the appointment of counsel

   to assist him in requesting compassionate release. The Government filed a response in opposition

   to Booker’s motion for compassionate release (#998).1 United States Probation and Pretrial

   Services (“Probation”) conducted an investigation and recommends that the court deny Booker’s

   motion for compassionate release.          Having considered the pending motions, Probation’s

   recommendation, the Government’s response, the record, and the applicable law, the court is of

   the opinion that the motions should be denied.

   I.       Background

            On January 11, 2012, a grand jury in the Eastern District of Texas returned a First

   Superseding Indictment charging Booker and 11 co-defendants with Conspiracy to Possess with



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              In a letter motion, dated October 19, 2020, Booker asks the court to grant him an extension of
   time to file a reply to the Government’s response (#s 1003, 1004). “The court need not wait for the reply
   . . . before ruling on the motion.” LOCAL RULE CR-47(b)(2). Therefore, the court denies Booker’s
   request for an extension of time to file a reply.
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   the Intent to Distribute Marijuana, in violation of 21 U.S.C. § 846, from June 2006 to January

   2012. The court held a jury trial, commencing on September 10, 2012. On September 14, 2012,

   the jury returned a verdict, finding Booker guilty of the marijuana-trafficking conspiracy. On

   February 22, 2013, the court sentenced Booker to 280 months’ imprisonment, followed by a

   5-year term of supervised release. His sentence of imprisonment was subsequently reduced to 188

   months on August 27, 2015. Booker’s conviction and sentence were affirmed on appeal by the

   United States Court of Appeals for the Fifth Circuit on May 19, 2016. Booker is currently housed

   at Federal Correctional Institution Terre Haute (“FCI Terre Haute”), located in Terre Haute,

   Indiana. His projected release date is December 29, 2024.

   II.    Appointment of Counsel

          Booker requests the appointment of counsel to assist him in filing a motion for

   compassionate release under 18 U.S.C. § 3582(c). There is no constitutional right to appointed

   counsel in post-conviction proceedings. Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (“The

   right to appointed counsel extends to the first appeal of right, and no further.”); see Garza v.

   Idaho, ___ U.S. ___, 139 S. Ct. 738, 749 (2019); McCleskey v. Zant, 499 U.S. 467, 494-95

   (1991); Whitaker v. Collier, 862 F.3d 490, 501 (5th Cir. 2017), cert. denied, 138 S. Ct. 1172

   (2018); In re Sepulvado, 707 F.3d 550, 554 (5th Cir.), cert. denied, 571 U.S. 952 (2013).

          The court, however, may, in the interest of justice, appoint counsel to assist a defendant

   in the pursuit of post-conviction relief where a defendant has raised nonfrivolous claims with

   factually and/or legally complex issues. See United States v. Whitebird, 55 F.3d 1007, 1011 (5th

   Cir. 1995) (“After [a defendant’s first appeal], the decision whether to appoint counsel rests in the

   discretion of the district court.”).


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          The exercise of discretion in this area is guided . . . by certain basic principles.
          When applying this standard and exercising its discretion in this field, the court
          should determine both whether the petition presents significant legal issues, and if
          the appointment of counsel will benefit the petitioner and the court in addressing
          this claim.

   United States v. Molina-Flores, No. 3:16-CR-130-N (19), 2018 WL 10050316, at *2 (N.D. Tex.

   Feb. 13, 2018) (quoting Jackson v. Coleman, No. 3:11-cv-1837, 2012 WL 4504485, at *4 (M.D.

   Pa. Oct. 2, 2012)); see Scoggins v. MacEachern, No. 04-10814-PBS, 2010 WL 3169416, at *1

   (D. Mass. Aug. 10, 2010) (“In order to obtain appointed counsel, ‘an indigent litigant must

   demonstrate exceptional circumstances in his or her case to justify the appointment of counsel.’

   The rare cases warranting appointment of counsel in the interests of justice typically involve

   nonfrivolous claims with factually and/or legally complex issues and a petitioner who is severely

   hampered in his ability to investigate the facts.” (quoting Cookish v. Cunningham, 787 F.2d 1,

   2 (1st Cir. 1986))).

          Booker is not entitled to the appointment of counsel to assist him with seeking

   compassionate release under 18 U.S.C. § 3582. See Finley, 481 U.S. at 555; Whitebird, 55 F.3d

   at 1010-11 (declining to recognize constitutional or statutory right to assistance of counsel in

   bringing § 3582(c)(2) motion for sentence reduction); United States v. Vasquez, No. CR

   2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2, 2020) (“There is no right to counsel

   in § 3582 or other post-appellate criminal proceedings.”). While Booker asserts that appointment

   of counsel is warranted because he is indigent, he submits no proof of his indigency; however, the

   court notes that he was represented by appointed counsel at trial and on appeal.

          Nevertheless, Booker provides no basis for the court to conclude that the appointment of

   counsel would help him obtain relief. A motion “for compassionate release is not particularly


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   complex factually or legally.” United States v. Drayton, No. 10-200018, 2020 WL 2572402, at

   *1 (D. Kan. May 21, 2020); see United States v. Wilfred, No. 07-351, 2020 WL 4698993, at *1

   (E.D. La. Aug. 13, 2020). Here, Booker is a United States citizen, who grew up in Indianapolis,

   Indiana, graduated from high school, and, according to his Presentence Investigation Report

   (“PSR”), was employed as a certified nurse’s assistant from 2007 until his arrest in 2011.

   Although his motion is organized and literate, Booker has failed to raise any nonfrivolous or

   potentially viable claims or any factually or legally complex issues that could arguably justify the

   appointment of post-conviction counsel. Thus, the court finds that the discretionary appointment

   of counsel is not warranted. See 18 U.S.C. § 3006A(a)(2) (allowing appointment of counsel under

   certain circumstances when “the court determines that the interests of justice so require”).

   Accordingly, Booker’s request for appointment of counsel is denied.

   III.   Compassionate Release

          On December 21, 2018, President Trump signed the First Step Act of 2018 into law. See

   First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194. The Act, in part, amended 18

   U.S.C. § 3582(c), which gives the court discretion, in certain circumstances, to reduce a

   defendant’s term of imprisonment:

          The court, upon motion of the Director of the Bureau of Prisons (“BOP”), or upon
          motion of the defendant after the defendant has fully exhausted all administrative
          rights to appeal a failure of the [BOP] to bring a motion on the defendant’s behalf
          or the lapse of 30 days from the receipt of such a request by the warden of the
          defendant’s facility, whichever is earlier, may reduce the term of imprisonment
          (and may impose a term of probation or supervised release with or without
          conditions that does not exceed the unserved portion of the original term of
          imprisonment), after considering the factors set forth in section 3553(a) to the
          extent that they are applicable, if it finds that extraordinary and compelling reasons
          warrant such a reduction; or the defendant is at least 70 years of age, has served
          at least 30 years in prison, pursuant to a sentence imposed under section 3559(c),
          for the offense or offenses for which the defendant is currently imprisoned, and a

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          determination has been made by the Director of the [BOP] that the defendant is not
          a danger to the safety of any other person or the community, as provided under
          section 3142(g); and that such a reduction is consistent with applicable policy
          statements issued by the Sentencing Commission . . . .

   18 U.S.C. § 3582(c)(1)(A). This provision is commonly referred to as “compassionate release.”

          Prior to the First Step Act, only the Director of the BOP could file a motion seeking

   compassionate release. See United States v. Franco, 973 F.3d 465, 467 (5th Cir. 2020) (“Prior

   to the passage of the First Step Act . . . courts lacked the power to adjudicate motions for

   compassionate release.”); Tuozzo v. Shartle, No. 13-4897, 2014 WL 806450, at *2 (D.N.J. Feb.

   27, 2014) (denying petitioner’s motion for compassionate release because no motion for his release

   was filed by the BOP). The First Step Act amended § 3582(c) by providing a defendant the means

   to appeal the BOP’s decision not to file a motion for compassionate release on the defendant’s

   behalf. United States v. Cantu, 423 F. Supp. 3d 345, 347 (S.D. Tex. 2019); United States v. Bell,

   No. 3:93-CR-302-M, 2019 WL 1531859, at *1 (N.D. Tex. Apr. 9, 2019). The plain language

   of the statute, however, makes it clear that the court may not grant a defendant’s motion for

   compassionate release unless the defendant has complied with the administrative exhaustion

   requirement. 18 U.S.C. § 3582(c)(1)(A); Franco, 973 F.3d at 467 (holding that the statutory

   requirement that a defendant file a request with the BOP before filing a motion for compassionate

   release in federal court “is not jurisdictional but that it is mandatory”); United States v. Alam, 960

   F.3d 831, 833 (6th Cir. 2020) (“Even though [the] exhaustion requirement does not implicate [the

   court’s] subject-matter jurisdiction, it remains a mandatory condition.”); United States v. Raia,

   954 F.3d 594, 597 (3d Cir. 2020) (“[T]he exhaustion requirement . . . presents a glaring

   roadblock foreclosing compassionate release.”). Thus, before seeking relief from the court, a

   defendant must first submit a request to the warden of his facility to move for compassionate

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   release on his behalf and then either exhaust his administrative remedies or wait for the lapse of

   30 days after the warden received the request. 18 U.S.C. § 3582(c)(1)(A); Franco, 973 F.3d at

   467 (“The text . . . outlines two routes a defendant’s motion can follow to be properly before the

   court. Both routes begin with the defendant requesting that ‘the [BOP]’ ‘bring a motion on the

   defendant’s behalf.’”); United States v. Harris, 812 F. App’x 106, 107 (3d Cir. 2020); United

   States v. Springer, 820 F. App’x 788, 791 (10th Cir. 2020) (defendant “was required to request

   that the BOP file a compassionate-release motion on his behalf to initiate his administrative

   remedies” (citing Raia, 954 F.3d at 595)); Alam, 960 F.3d at 833-34; United States v. Soliz, No.

   2:16-190-3, 2020 WL 2500127, at *3 (S.D. Tex. May 14, 2020) (“§ 3582(c)(1)(A) does not

   provide this Court with the equitable authority to excuse [defendant’s] failure to exhaust his

   administrative remedies or to waive the 30-day waiting period.” (quoting United States v. Reeves,

   No. 18-00294, 2020 WL 1816496, at *2 (W.D. La. Apr. 9, 2020))).

          In this instance, Booker has exhausted his administrative remedies. On July 25, 2020,

   Booker submitted a written request for compassionate release to B. Lammer (“Warden Lammer”),

   the warden of the facility where Booker is housed. BOP Clinical Director, W. Wilson, M.D.

   (“Dr. Wilson”), reviewed Booker’s request and noted in his memorandum to Warden Lammer that

   Booker did not meet the criteria necessary for compassionate release. Specifically, Dr. Wilson

   concluded that Booker did not have a terminal medical condition because he did not: (1) have a

   terminal, incurable disease with a life expectancy of 18 months or less; or (2) have a disease with

   an end of life trajectory. Dr. Wilson further asserted that Booker did not have a debilitated

   medical condition because he did not have a disability that made him unable to carry on or provide

   limited self-care or, otherwise, confined him to a bed or chair. Lastly, Dr. Wilson determined


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   that Booker, age 43, was not an elderly inmate with a medical condition because, among other

   things, he was under the age of 65. On September 8, 2020, Warden Lammer denied Booker’s

   request for compassionate release, concluding that he was not terminally ill and did not have a

   condition that substantially diminished his ability to function in a correctional facility. Although

   Booker complied with the exhaustion requirement before filing the instant motion, nothing in his

   motion indicates that extraordinary and compelling reasons exist to reduce his sentence and release

   him from confinement.

           Congress did not define “extraordinary and compelling.” Rather, it elected to delegate its

   authority to the United States Sentencing Commission (“the Commission”). See 28 U.S.C.

   § 994(t) (“The Commission, in promulgating general policy statements regarding the sentencing

   modification provisions in section 3582(c)(1)(A) of title 18, shall describe what should be

   considered extraordinary and compelling reasons for sentence reduction, including the criteria to

   be applied and a list of specific examples.”); see also U.S. SENTENCING GUIDELINES MANUAL

   § 1B1.13 (U.S. SENTENCING COMM’N 2018) (“USSG”). In Application Note 1 to § 1B1.13 of

   the USSG, the Commission defined “extraordinary and compelling reasons” to include the

   following four categories of circumstances: (i) certain medical conditions of the defendant; (ii)

   the defendant is 65 years or older and meets other requirements; (iii) the defendant’s family has

   specified needs for a caregiver; and (iv) other reasons in the defendant’s case that establish an

   extraordinary and compelling reason. The court must also consider the factors set forth in 18

   U.S.C. § 3553(a),1 as applicable, and find that the sentence modification is consistent with the


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             Section 3553(a) directs courts to consider: the nature and circumstances of the offense and the
   defendant’s history and characteristics; the need to reflect the seriousness of the offense, to promote
   respect for the law, and to provide just punishment for the offense; the need to deter criminal conduct; the

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   policy statements issued by the Commission. 18 U.S.C. § 3582(c)(1)(A). The policy statement

   regarding compassionate release requires a determination that “the defendant is not a danger to

   the safety of any other person or to the community.” U.S.S.G. § 1B1.13(2).

           In the instant motion, Booker contends that he is eligible for compassionate release due to

   his medical condition. Specifically, in his request to the warden, Booker states that he is

   “suffering from hypertension (high blood pressure) that has [put] unnecessary stress [on] my heart

   and kidneys that ultimately will lead to kidney damage-failure.” He further asserts that as a result

   of his health issues, he is more susceptible to COVID-19. Booker claims that because of his

   medical condition, coupled with the risk of COVID-19, he has presented extraordinary and

   compelling reasons that warrant his compassionate release. The USSG provides that extraordinary

   and compelling reasons exist regarding a defendant’s medical condition when the defendant is

   “suffering from a terminal illness (i.e., a serious and advanced illness with an end of life

   trajectory)” or when a defendant is “suffering from a serious physical or medical condition,”

   “suffering from a serious functional or cognitive impairment,” or “experiencing deteriorating

   physical or mental health because of the aging process, that substantially diminishes the ability of

   the defendant to provide self-care within the environment of a correctional facility and from which

   he or she is not expected to recover.” U.S.S.G. § 1B1.13 cmt. n.1(A).

           According to his PSR, prepared in December 2012, Booker reported that he was in good

   health, other than having a sports-related injury to his right knee that caused him pain and swelling


   need to protect the public; the need to provide the defendant with needed educational or vocational training,
   medical care, or other correctional treatment in the most effective manner; the kinds of sentences and
   sentencing ranges established for defendants with similar characteristics under applicable USSG provisions
   and policy statements; any pertinent policy statement of the Commission in effect on the date of sentencing;
   the need to avoid unwarranted disparities among similar defendants; and the need to provide restitution to
   the victim. 18 U.S.C. § 3553(a).

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   in his leg. His body mass index was 25.1, making him just slightly overweight.2 Booker’s health,

   however, has apparently declined somewhat since then. As set forth in his medical records,

   Booker currently suffers from benign essential hypertension and is prescribed Amlodipine and

   Lisinporil to control the condition. At a medical appointment on March 31, 2020, David Lukens,

   M.D. (“Dr. Lukens”), discussed with Booker that blood pressure control is associated with the

   reduction of cardiovascular risks. Dr. Lukens also encouraged Booker to comply with medical

   therapy, including regularly taking his medicine, and to take conservative measures, emphasizing

   the importance of cardio exercise. Importantly, while Booker asserts that his hypertension puts

   stress on his heart and kidneys, his medical records do not indicate that he presently has any heart

   or kidney problems.      His records merely reflect that Dr. Lukens warned Booker that the

   development of “LVH [left ventricular hypertrophy]” is often related to sub-optimal blood

   pressure control.

           In addition to hypertension, Booker’s medical records reflect that he continues to

   experience ongoing knee and lower leg pain. He is now obese, with a body mass index of 33.2,

   which may increase his COVID-19 risk factors. Nevertheless, Booker is classified by the BOP

   as a Care Level 1 inmate. According to BOP’s Clinical Practice Guidance, “Care Level 1 inmates

   are less than 70 years of age and are generally healthy,” but “[t]hey may have limited medical

   needs that can be easily managed by clinician evaluations every 6-12 months.” Consequently,

   Booker’s medical summary does not meet the criteria listed above. None of his medical conditions

   is terminal or substantially diminishes his ability to provide self-care. In fact, BOP records reveal


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            The PSR shows that Booker was 5 feet, 7 inches tall and weighed 160 pounds. According to the
   Centers for Disease Control and Prevention, the normal weight range for someone his height is 118 to 159
   pounds, making him only one pound beyond the normal range.

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 that Booker has no medical restrictions, is assigned regular duty work, is cleared for food service,

 and was recently assigned to serve as the FCI Administrative Clerk. Booker, therefore, has failed

 to establish that a qualifying medical condition exists that would constitute extraordinary and

 compelling reasons to reduce his sentence.

        Even if Booker’s medical conditions constituted an extraordinary and compelling reason

 under § 3582(c)(1)(A), “compassionate release is discretionary, not mandatory, and [may] be

 refused after weighing the sentencing factors of 18 U.S.C. § 3553(a).” United States v.

 Chambliss, 948 F.3d 691, 693 (5th Cir. 2020). Where, as here, a prisoner has engaged in

 “severe” criminal conduct and has an extensive criminal history, the district court has discretion

 to deny compassionate release after weighing the evidence. Id. at 693-94.

        Furthermore, granting Booker compassionate release would fail to provide just punishment

 for his offense and promote respect for the law. In Chambliss, the Fifth Circuit found that the

 district court did not abuse its discretion in denying compassionate release to a defendant due to

 the defendant’s not yet having served a sufficient portion of his sentence. Id. at 694. The district

 court determined that the defendant’s terminal illness “constitut[ed] ‘an extraordinary and

 compelling reason for a sentence reduction’ and that he ‘[did] not present a danger upon release,’”

 but denied release because “releasing [the defendant] after serving only 14 years of a 30-year

 sentence minimizes both the impact of [the defendant’s] crime and seriousness of the offense.”

 Id. at 693-94. “Moreover, the [district] court, citing the § 3553(a) factors, determined that

 requiring [the defendant] to serve the remainder of his sentence would ‘provide just punishment

 for the offense’ and ‘afford adequate deterrence to criminal conduct.’” Id. In the instant case,




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 releasing Booker after he has served only 9 years of his almost 16-year sentence would similarly

 minimize the impact of his crime and the seriousness of his offense.

        Booker’s request for compassionate release potentially falls into the fourth, catch-all

 category of “other” extraordinary and compelling reasons, which specifically states that the

 Director of the BOP shall determine whether “there exists in the defendant’s case an extraordinary

 and compelling reason other than, or in combination with, the reasons described in subdivisions

 (A) through (C).” U.S.S.G. § 1B1.13 cmt. n.1(D). Although Subdivision D is reserved to the

 BOP Director, the Commission acknowledged, even before the passage of the First Step Act, that

 courts are in the position to determine whether extraordinary and compelling circumstances are

 present. United States v. Beck, 425 F. Supp. 3d 573, 583 (M.D.N.C. 2019) (“Read in light of

 the First Step Act, it is consistent with the previous policy statement and with the Commission

 guidance more generally for courts to exercise similar discretion as that previously reserved to the

 BOP Director in evaluating motions by defendants for compassionate release.”); see Cantu, 423

 F. Supp. 3d at 352 (“[T]he correct interpretation of § 3582(c)(1)(A) . . . is that when a defendant

 brings a motion for a sentence reduction under the amended provision, the Court can determine

 whether any extraordinary and compelling reasons other than those delineated in U.S.S.G.

 § 1B1.13 cmt. n.1(A)-(C) warrant granting relief.”).

        In the case at bar, there is no indication that the BOP Director made a determination

 regarding the presence of extraordinary and compelling reasons with respect to Booker for any

 “other” reason. In exercising its discretion, the court, likewise, finds that no extraordinary and

 compelling reasons exist in relation to Booker’s situation. Booker maintains that if he contracts

 COVID-19 it will be fatal for him due to prison overcrowding and there being no way to distance


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 himself from other inmates. Booker expresses concern regarding the spread of COVID-19 among

 the prison population.     Nevertheless, as of November 4, 2020, the figures available at

 www.bop.gov list 11 inmates (out of a total inmate population of 1,093) and 4 staff members at

 FCI Terre Haute as having confirmed positive cases of COVID-19, 131 inmates and 15 staff

 members who have recovered, and 1 inmate who has succumbed to the disease. Thus, it appears

 that the facility where Booker is housed is handling the outbreak appropriately and providing

 adequate medical care.

        Although Booker expresses legitimate concerns regarding COVID-19, he does not establish

 that the BOP cannot manage the outbreak within his correctional facility or that the facility is

 specifically unable to treat Booker, if he were to contract the virus and develop COVID-19

 symptoms, while incarcerated. See Raia, 954 F.3d at 597 (“[T]he mere existence of COVID-19

 in society and the possibility that it may spread to a particular prison alone cannot independently

 justify compassionate release, especially considering BOP’s statutory role, and its extensive and

 professional efforts to curtail the virus’s spread.”); Vasquez, 2020 WL 3000709, at *3 (“General

 concerns about the spread of COVID-19 or the mere fear of contracting an illness in prison are

 insufficient grounds to establish the extraordinary and compelling reasons necessary to reduce a

 sentence.” (quoting United States v. Koons, 455 F. Supp. 3d 285, 292 (W.D. La. 2020))); United

 States v. Clark, 451 F. Supp. 3d 651, 656 (M.D. La. 2020) (finding the defendant had failed to

 present extraordinary and compelling reasons to modify his prison sentence because he “does not

 meet any of the criteria set forth by the statute” and he “cites no authority for the proposition that

 the fear of contracting a communicable disease warrants a sentence modification”). Furthermore,

 contracting the virus while incarcerated, even in conjunction with preexisting health conditions,


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 is insufficient to establish exceptional and compelling circumstances warranting compassionate

 release. See United States v. Jackson, No. 3:16-CR-196-L-1, 2020 WL 4365633, at *2 (N.D.

 Tex. July 30, 2020) (finding that defendant had failed to present extraordinary and compelling

 reasons for compassionate release despite suffering from previous underlying health conditions and

 testing positive for COVID-19). Booker has failed to establish that a qualifying medical condition

 or other reasons exist that would constitute extraordinary and compelling reasons to reduce his

 sentence and release him from imprisonment.

        The court further finds that compassionate release is not warranted in light of the applicable

 factors set forth in § 3553(a). See 18 U.S.C. § 3582(c)(1)(A) (requiring courts to consider the

 § 3553(a) factors before granting compassionate release); Chambliss, 948 F.3d at 693-94.

 Booker’s conviction stems from his participation in a drug trafficking and money laundering

 conspiracy. As part of the conspiracy, Booker’s co-defendant, Cruz Lopez-Acevedo, supplied

 marijuana from Mexico to distributors in Texas and Indiana. Booker was one of the primary

 distributors in Indiana. According to his co-defendant, Eric Pieper, Booker received a total of

 2,360 pounds (1,070.47 kilograms) of marijuana from the supplier. Booker also operated a stash

 house on behalf of the drug-trafficking organization until he was arrested. Police found marijuana

 in Booker’s possession on multiple occasions.

        On June 25, 2008, Booker was stopped for a traffic violation, and officers found two large

 bags containing 446 grams of marijuana and $600.00 in United States currency. On April 10,

 2009, Matt Jones (“Jones”) was stopped for a traffic violation, and police discovered that he had

 14 pounds of marijuana and 2 handguns in his vehicle. Jones stated that Booker provided him with

 the marijuana and weapons. Later that day, police searched Booker’s residence, recovering 66


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 pounds of marijuana, 11 tablets of MDMA, 5 tablets of benzylpiperazine, and a loaded .40 caliber

 handgun. Police also found 17 boxes lined with carbon paper, each of which contained at least

 22 pounds of marijuana at one time. Some of these boxes were still full with compressed bales

 of marijuana, others contained smaller bags of marijuana that were ready for sale, and the

 remainder were empty. On December 30, 2010, police stopped Booker for a traffic violation and

 found that he possessed five pounds of marijuana and $500.00 in United States currency in his

 vehicle. Booker admitted to officers that he had been selling marijuana for several years.

 According to the PSR, Booker was held responsible for between 1,000 and 3,000 kilograms of

 marijuana.

        Booker has an extensive criminal history, including prior convictions for theft, possession

 of marijuana, intimidation, domestic battery, possession of a controlled substance, operating a

 vehicle while intoxicated, and dealing in marijuana. Booker’s conviction for intimidation and

 domestic battery stemmed from his physically assaulting the mother of some of his children and

 threatening to kill her for calling the police. In addition, he failed to comply with previous terms

 of probation and was on probation for two offenses at the time of his offense of conviction.

 Further, Booker has a lengthy history of substance abuse, using alcohol and marijuana on a daily

 basis from shortly after his high school graduation until his arrest in 2011 at age 34. In view of

 the nature and circumstances of his offense of conviction, his extensive criminal history, and his

 long history of substance abuse, the court cannot conclude that Booker would not pose a danger

 to any other person or to the community, if released from prison.

        Moreover, the BOP has instituted a comprehensive management approach that includes

 screening, testing, appropriate treatment, prevention, education, and infection control measures


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 in response to COVID-19. In response to a directive from the United States Attorney General in

 March 2020, the BOP immediately began reviewing all inmates who have COVID-19 risk factors,

 as described by the Centers for Disease Control and Prevention, for the purpose of determining

 which inmates are suitable for placement on home confinement. See United States v. Collins,

 2020 WL 1929844, at *3 (W.D. La. Apr. 20, 2020). The BOP notes that inmates need not apply

 to be considered for home confinement, as this is being done automatically by case management

 staff. To date, the BOP has placed 7,717 inmates on home confinement. The March 2020

 directive is limited to “eligible at-risk inmates who are non-violent and pose minimal likelihood

 of recidivism and who might be safer serving their sentences in home confinement rather than in

 BOP facilities.” United States v. Castillo, No. CR 2:13-852-1, 2020 WL 3000799, at *3 (S.D.

 Tex. June 2, 2020). The BOP has the exclusive authority to determine where a prisoner is housed;

 thus, the court is without authority to order home confinement. 18 U.S.C. § 3621(b); Ambriz v.

 United States, ___ F. Supp. 3d ___, No. 4:20-CV-568-P, 2020 WL 3066861, at *2 (N.D. Tex.

 June 5, 2020); United States v. Miller, No. 2:17-CR-015-D (02), 2020 WL 2514887, at *1 (N.D.

 Tex. May 15, 2020) (“[N]either the CARES Act nor the First Step Act authorizes the court to

 release an inmate to home confinement.”).

        In his Memorandum to the BOP dated March 26, 2020, Attorney General Barr

 acknowledges that the Department of Justice (“DOJ”) has an obligation to protect both BOP

 personnel and inmates. He also notes that the DOJ has the responsibility of protecting the public,

 meaning that “we cannot take any risk of transferring inmates to home confinement that will

 contribute to the spread of COVID-19 or put the public at risk in other ways.” The Attorney

 General issued a subsequent Memorandum to the BOP on April 3, 2020, in which he emphasizes


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 that police officers protecting the public face an increased risk from COVID-19 and cannot avoid

 exposure to the virus, with their numbers dwindling as officers who contract the virus become ill

 or die or need to recover or quarantine to avoid spreading the disease. Accordingly, he cautions:

        The last thing our massively over-burdened police forces need right now is the
        indiscriminate release of thousands of prisoners onto the streets without any
        verification that those prisoners will follow the laws when they are released, that
        they have a safe place to go where they will not be mingling with their old criminal
        associates, and that they will not return to their old ways as soon as they walk
        through the prison gates.

 As the court noted in United States v. Preston, “[t]he best predictor of how [Defendant] will

 behave if he were to be released is how he behaved in the past, and his track record is a poor

 one.” No. 3:18-CR-307-K, 2020 WL 1819888, at *4 (N.D. Tex. Apr. 11, 2020) (quoting United

 States v. Martin, 447 F. Supp. 3d 399, 403 (D. Md. 2020)). Here, Booker’s track record is

 similarly a poor one.

        In short, Booker has failed to satisfy his burden of showing the necessary circumstances

 to warrant relief under the statutory framework to which the court must adhere. See United States

 v. Dodge, No. 17-323-01, 2020 WL 3668765, at *5 (W.D. La. July 6, 2020) (stressing that “the

 rampant spread of the coronavirus and the conditions of confinement in jail, alone, are not

 sufficient grounds to justify a finding of extraordinary and compelling circumstances”); Koons,

 455 F. Supp. 3d at 291-92 (same). As the court observed in Koons, rejecting the notion that it has

 “carte blanche” authority to release whomever it chooses, “[t]he Court cannot release every

 prisoner at risk of contracting COVID-19 because the Court would then be obligated to release

 every prisoner.” Dodge, 2020 WL 3668765, at *6; Koons, 455 F. Supp. 3d at 292.




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 IV.    Conclusion

        Consistent with the foregoing analysis, Booker’s Motion for Compassionate Release (#993)

 and Motions for Extension of Time to File a Reply and Appointment of Counsel (#s 1003, 1004)

 are DENIED.

        SIGNED at Beaumont, Texas, this 4th day of November, 2020.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE




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